
719 S.E.2d 30 (2011)
ESTATE OF Erik Dominic WILLIAMS
v.
PASQUOTANK COUNTY PARKS &amp; RECREATION DEPARTMENT, et al.
No. 231PA11-1.
Supreme Court of North Carolina.
December 2, 2011.
Robert Thomas Numbers, II, for Pasquotank Co Parks &amp; Rec et al.
Sanford W. Thompson, IV, Raleigh, for Williams, Erik Dominic (Estate of), et al.
Henry W. Gorham, Raleigh, for Pasquotank Co Parks &amp; Rec et al.
Samuel B. Dixon, Edenton, for Williams, Erik Dominic (Estate of), et al.
Janice M. Cole, Raleigh, for Williams, Erik Dominic (Estate of), et al.
Jerry A. Allen, Jr., Goldsboro, for N.C. Assoc. of EMS Administrators.
Allison B. Schafer, General Counsel, for N.C. School Boards Association.
Wanda M. Copley, County Attorney, for Board of Commissioners of New Hanover County.
Michael C. Frue, Asheville, for Buncombe County.
Leon M. Killian, III, Raleigh, for Haywood County.
Kimberly S. Hibbard, General Counsel, for N.C. League of Municipalities.
Roger Askew, for Wake County.
Fred P. Baggett, Raleigh, for N.C. Association of Chiefs of Police;
*31 Edmond W. Caldwell, Jr., Executive Vice President and General Counsel, for N.C. Sheriffs' Association.
Sharon G. Scudder, for N.C. Association of County Commissioners.
The following order has been entered on the motion filed on the 1st of December 2011 by Defendant-Appellant for Extension of Time to File New Brief:
"Motion Allowed by order of the Court in conference, this the 2nd of December 2011."
